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 12   Attorneys for Defendants,
      JOYETECH USA, INC. and BESTORE INC.
 13
 14                     IN THE UNITED STATES DISTRICT COURT
 15                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 16    STARBUZZ TOBACCO, Inc.,                    Case No. 8:17-CV-02039-DOC-DFM
 17    a California Corporation
                                                  [Assigned for all purposed to Hon. David
 18                Plaintiff,                     O. Carter – Dept. 9D]
 19          v.                                   STIPULATION TO EXTEND TIME
                                                  TO RESPOND TO INITIAL
 20
       BESTORE EUROPE HOLDING GMBH,               COMPLAINT
 21    a Switzerland limited liability company;
       JOYETECH USA, INC., a California           [[Proposed] Order filed concurrently
 22    Corporation; MIST VAPOR USA, INC., a       herewith]
       business entity form unknown; BESTORE
 23    INC., a California corporation, and        Complaint Filed:
 24    DOES1-10, inclusive,                             November 21, 2017
                                                  Current response Due:
 25                Defendants.                          December 18, 2017
 26                                               New Response Date:
                                                        January 29, 2018
 27
 28
                                               1
                   STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
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  1          WHEREAS, Starbuzz Tobacco, Inc. (“Starbuzz”) filed Case no. 8:17-CV-02039-DOC-
  2   DFM against Bestore Europe Holding GMBH, Joyetech USA, Inc. (“Joyetech”), Mist Vapor
  3   USA, Inc., and Bestore Inc. (“Bestore”) on November 21, 2017;
  4          WHEREAS, the current deadline for Joyetech to respond to the Complaint is December
  5   18, 2017;
  6          WHEREAS, the current deadline for Bestore to respond to the Complaint is December
  7   28, 2017;
  8          WHEREAS, the parties have engaged in preliminary settlement discussions that may
  9   result in resolution of this matter without the need to expend further resources of the Court;
 10          WHEREAS, given Joyetech’s and Bestore’s recent retention of outside counsel, the
 11   need to further assess the Complaint, and to allow for further settlement discussions, Starbuzz
 12   has agreed to extend the deadline for Joyetech and Bestore to respond to the Complaint until
 13   January 29, 2018;
 14          WHEREAS, this is the first request to extend time to respond to the Complaint;
 15          NOW THEREFORE, by and through their respective counsel of record, the Parties
 16   hereby stipulate and agree, subject to approval by the Court, that Joyetech’s and Bestore’s
 17   appearance, answer and/or response to Starbuzz’s complaint in Case no. 8:17-CV-02039-
 18   DOC-DFM shall be due on January 29, 2018.
 19          IT IS SO STIPULATED.
 20          Dated: December 15, 2017            ALSTON & BIRD, LLP
 21                                              By: _/s/ Evan W. Woolley
                                                        Evan W. Woolley
 22                                                     Attorneys for Joyetech USA, Inc. and
                                                        Bestore Inc.
 23
             Dated: December 15, 2017            THE PATEL LAW FIRM, P.C.
 24
                                                 By: /s/ Daniel H. Ngai
 25                                                      Daniel H. Ngai
                                                         Attorneys for Starbuzz Tobacco, Inc.
 26
 27          Pursuant to Local Rule 5-4.3.4(a), the filer attests that the above signatory agrees to the

 28   filing of this document.

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                     STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
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 1                                    CERTIFICATE OF SERVICE
 22            I hereby certify that on December 15, 2017, I electronically filed the STIPULATION
  3    TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT with the Clerk of the
  3
  4    Court for the United States District Court, Central District by using the Court’s CM/ECF
  4
  5    system.
  5            Participants in the case who are registered CM/ECF users will be served by the Court’s
  6
  67   CM/ECF system. The parties were also served by e-mail according to the following service
 87    list:
 98
                 Natu J. Patel                          Attorneys for Plaintiff
10               Daniel H. Ngai                         Starbuzz Tobacco, Inc.
  9
11               THE PATEL LAW FIRM, P.C.
10               22952 Mill Creek Drive
12               Laguna Hills, CA 92653
11               npatel@thepatellawfirm.com
13               dngai@thepatellawfirm.com
12
14
13
15             I declare under penalty of perjury under the laws of the United States that the forgoing

16
14     is true and correct.

17
15
18                                     /s/ Evan W. Woolley
16                                         Attorney for Plaintiffs
19
                              JOYETECH USA, INC. AND BESTORE INC.
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                       STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
